   Case 2:17-cr-00419-AKK-TMP Document 252 Filed 07/20/18 Page 1 of 1                     FILED
                                                                                  2018 Jul-21 PM 05:14
                                                                      FILl::ll   U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA
                                           United States District Court
                                           Northern District of Alabama
          IN THE UNITED ST ATES DISTRICT COURT
           FOR NORTHERN DISTRICT OF ALABAMA.JUL 20 2018
                   SOUTHERN DIVISION
                                               Judge Abdul Kaflon
UNITED STATES OF AMERICA       )
                                         )
                                         )
     vs.                                 )       2:17-CR-00419-AKK-TMP
                                         )
JOEL IVERSON GILBERT,                    )
DAVID LYNN ROBERSON,                     )



                              Verdict

     We, the jury, find the Defendant David Lynn Roberson,

                 Not Guilty      x           Guilty as to Count One

                 Not Guilty      x           Guilty as to Count Two

                 Not Guilty       x          Guilty as to Count Three

                 Not Guilty       x          Guilty as to Count Four

                 Not Guilty       x          Guilty as to Count Five

                 Not Guilty       x.         Guilty as to Count Six


SO SAY WE ALL.
